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                         Exhibit 2
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<DOCUMENT>
<TYPE>N-PX
<SEQUENCE>1
<FILENAME>tm2221142d11_npx.txt
<DESCRIPTION>N-PX
<TEXT>

                                    UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
                                WASHINGTON, D.C. 20549

                                      FORM N-PX

                         ANNUAL REPORT OF PROXY VOTING RECORD
                                          OF
                      REGISTERED MANAGEMENT INVESTMENT COMPANIES

INVESTMENT COMPANY ACT FILE NUMBER:               811-2652

NAME OF REGISTRANT:                               VANGUARD INDEX FUNDS

ADDRESS OF REGISTRANT:                            PO BOX 2600, VALLEY FORGE, PA 19482

NAME AND ADDRESS OF AGENT FOR SERVICE:            ANNE E. ROBINSON
                                                  PO BOX 876
                                                  VALLEY FORGE, PA 19482

REGISTRANT'S TELEPHONE NUMBER, INCLUDING AREA CODE:          (610) 669-1000

DATE OF FISCAL YEAR END:                          DECEMBER 31

DATE OF REPORTING PERIOD:                         JULY 1, 2021 - JUNE 30, 2022

<PAGE>

 ******************************* FORM N-Px REPORT ******************************
ICA File Number: 81102652E
Reporting Period: 07/01/2021 - 06/30/2022
VANGUARD INDEX FUNDS

Each investment advisor's votes cast are shown separately below. Sections
without an investment advisor listed reflect votes cast at the discretion of the
Fund. The votes reported do not reflect any votes cast pursuant to a regulatory
requirement.




==================== VANGUARD TOTAL STOCK MARKET INDEX FUND ====================
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5b      Elect Director Matthew Dragonetti as    For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5c      Elect Director Seamus Fearon as         For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5d      Elect Director H. Beau Franklin as      For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5e      Elect Director Jerome Halgan as         For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5f      Elect Director James Haney as           For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5g      Elect Director Chris Hovey as           For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5h      Elect Director W. Preston Hutchings as For            For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5i      Elect Director Pierre Jal as            For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5j      Elect Director Francois Morin as        For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5k      Elect Director David J. Mulholland as   For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5l      Elect Director Chiara Nannini as        For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5m      Elect Director Maamoun Rajeh as         For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries
5n      Elect Director Christine Todd as        For           For         Management
        Designated Company Director of Non-U.S.
        Subsidiaries


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ARCH RESOURCES, INC.

Ticker:       ARCH             Security ID: 03940R107
Meeting Date: MAY 13, 2022     Meeting Type: Annual
Record Date: MAR 24, 2022

#       Proposal                                Mgt Rec       Vote Cast   Sponsor
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1.1     Elect Director Patrick J. Bartels, Jr.    For           For         Management
1.2     Elect Director James N. Chapman           For           For         Management
1.3     Elect Director John W. Eaves              For           For         Management
1.4     Elect Director Holly Keller Koeppel       For           For         Management
1.5     Elect Director Patrick A. Kriegshauser    For           For         Management
1.6     Elect Director Paul A. Lang               For           For         Management
1.7     Elect Director Richard A. Navarre         For           For         Management
1.8     Elect Director Molly P. Zhang (aka        For           For         Management
        Peifang Zhang)
2       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation
3       Ratify Ernst & Young LLP as Auditor       For           For         Management


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ARCHAEA ENERGY INC.

Ticker:       LFG              Security ID: 03940F103
Meeting Date: MAY 18, 2022     Meeting Type: Annual
Record Date: MAR 23, 2022

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director J. Kyle Derham             For           For         Management
1.2     Elect Director Kathryn Jackson            For           For         Management
1.3     Elect Director Scott Parkes               For           For         Management
2       Ratify KPMG LLP as Auditors               For           For         Management


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ARCHER AVIATION INC.

Ticker:       ACHR             Security ID: 03945R102
Meeting Date: JUN 10, 2022     Meeting Type: Annual
Record Date: APR 14, 2022

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Deborah Diaz               For           For         Management
1.2     Elect Director Fred Diaz                  For           For         Management
2       Amend Omnibus Stock Plan                  For           Against     Management
3       Ratify PricewaterhouseCoopers LLP as      For           For         Management
        Auditors


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ARCHER-DANIELS-MIDLAND COMPANY

Ticker:         ADM            Security ID:    039483102
    Case 6:24-cv-00437-JDK   Document 66-3     Filed 03/17/25     Page 5 of 8 PageID #: 549



7       Report on GHG Emissions Reduction         Against       Against     Shareholder
        Targets
8       Report on Lobbying Payments and Policy    Against       Against     Shareholder


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CONSENSUS CLOUD SOLUTIONS, INC.

Ticker:       CCSI             Security ID: 20848V105
Meeting Date: JUN 15, 2022     Meeting Type: Annual
Record Date: APR 18, 2022

#       Proposal                                Mgt Rec         Vote Cast   Sponsor
1a      Elect Director Nathaniel (Nate) Simmons For             For         Management
1b      Elect Director Douglas Bech             For             For         Management
2       Ratify BDO USA, LLP as Auditors         For             For         Management


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CONSOL ENERGY INC.

Ticker:       CEIX             Security ID: 20854L108
Meeting Date: APR 26, 2022     Meeting Type: Annual
Record Date: MAR 04, 2022

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1a      Elect Director William P. Powell          For           For         Management
1b      Elect Director Sophie Bergeron            For           For         Management
1c      Elect Director James A. Brock             For           For         Management
1d      Elect Director John T. Mills              For           For         Management
1e      Elect Director Joseph P. Platt            For           For         Management
1f      Elect Director Edwin S. Roberson          For           For         Management
2       Ratify Ernst & Young LLP as Auditors      For           For         Management
3       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation


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CONSOLIDATED COMMUNICATIONS HOLDINGS, INC.

Ticker:       CNSL             Security ID: 209034107
Meeting Date: MAY 02, 2022     Meeting Type: Annual
Record Date: MAR 03, 2022

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Robert J. Currey           For           Withhold    Management
1.2     Elect Director Andrew S. Frey             For           For         Management
    Case 6:24-cv-00437-JDK   Document 66-3      Filed 03/17/25     Page 6 of 8 PageID #: 550



        Auditors
3       Advisory Vote to Ratify Named              For           Against     Management
        Executive Officers' Compensation
4       Amend Omnibus Stock Plan                   For           For         Management


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NACCO INDUSTRIES, INC.

Ticker:       NC                Security ID: 629579103
Meeting Date: MAY 18, 2022      Meeting Type: Annual
Record Date: MAR 22, 2022

#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director J.C. Butler, Jr.            For           For         Management
1.2     Elect Director John S. Dalrymple, III      For           For         Management
1.3     Elect Director John P. Jumper              For           For         Management
1.4     Elect Director Dennis W. LaBarre           For           For         Management
1.5     Elect Director Michael S. Miller           For           For         Management
1.6     Elect Director Richard de J. Osborne       For           For         Management
1.7     Elect Director Alfred M. Rankin, Jr.       For           For         Management
1.8     Elect Director Matthew M. Rankin           For           For         Management
1.9     Elect Director Roger F. Rankin             For           For         Management
1.10    Elect Director Lori J. Robinson            For           For         Management
1.11    Elect Director Robert S. Shapard           For           For         Management
1.12    Elect Director Britton T. Taplin           For           For         Management
2       Advisory Vote to Ratify Named              For           For         Management
        Executive Officers' Compensation
3       Ratify Ernst & Young LLP as Auditors       For           For         Management


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NANOSTRING TECHNOLOGIES, INC.

Ticker:       NSTG              Security ID: 63009R109
Meeting Date: JUN 17, 2022      Meeting Type: Annual
Record Date: APR 21, 2022

#       Proposal                                   Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Dana Rollison               For           For         Management
1.2     Elect Director William D. Young            For           For         Management
2       Ratify Ernst & Young LLP as Auditors       For           For         Management
3       Advisory Vote to Ratify Named              For           For         Management
        Executive Officers' Compensation
4       Approve Omnibus Stock Plan                 For           For         Management
5       Declassify the Board of Directors          None          For         Shareholder
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PDS BIOTECHNOLOGY CORPORATION

Ticker:       PDSB              Security ID: 70465T107
Meeting Date: JAN 19, 2022      Meeting Type: Special
Record Date: NOV 29, 2021

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1       Amend Omnibus Stock Plan                  For           For         Management


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PDS BIOTECHNOLOGY CORPORATION

Ticker:       PDSB              Security ID: 70465T107
Meeting Date: JUN 15, 2022      Meeting Type: Annual
Record Date: APR 22, 2022

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1.1     Elect Director Stephen Glover             For           For         Management
1.2     Elect Director Gregory Freitag            For           For         Management
1.3     Elect Director Richard Sykes              For           For         Management
2       Ratify KPMG LLP as Auditors               For           For         Management
3       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation


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PEABODY ENERGY CORPORATION

Ticker:       BTU               Security ID: 704551100
Meeting Date: MAY 05, 2022      Meeting Type: Annual
Record Date: MAR 10, 2022

#       Proposal                                  Mgt Rec       Vote Cast   Sponsor
1a      Elect Director Bob Malone                 For           For         Management
1b      Elect Director Samantha B. Algaze         For           For         Management
1c      Elect Director Andrea E. Bertone          For           For         Management
1d      Elect Director William H. Champion        For           For         Management
1e      Elect Director Nicholas J. Chirekos       For           For         Management
1f      Elect Director Stephen E. Gorman          For           For         Management
1g      Elect Director James C. Grech             For           For         Management
1h      Elect Director Joe W. Laymon              For           For         Management
1i      Elect Director David J. Miller            For           For         Management
2       Advisory Vote to Ratify Named             For           For         Management
        Executive Officers' Compensation
3       Ratify Ernst & Young LLP as Auditors      For           For         Management
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1f      Elect Director Nancy Dubuc               For          For         Management
1g      Elect Director Noreena Hertz             For          Against     Management
1h      Elect Director Ynon Kreiz                For          Against     Management
1i      Elect Director Ceci Kurzman              For          Against     Management
1j      Elect Director Michael Lynton            For          Against     Management
1k      Elect Director Donald A. Wagner          For          Against     Management
2       Ratify KPMG LLP as Auditors              For          For         Management


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WARRIOR MET COAL, INC.

Ticker:       HCC              Security ID: 93627C101
Meeting Date: APR 26, 2022     Meeting Type: Annual
Record Date: MAR 04, 2022

#       Proposal                                 Mgt Rec      Vote Cast   Sponsor
1.1     Elect Director Stephen D. Williams       For          For         Management
1.2     Elect Director Ana B. Amicarella         For          For         Management
1.3     Elect Director J. Brett Harvey           For          For         Management
1.4     Elect Director Walter J. Scheller, III   For          For         Management
1.5     Elect Director Alan H. Schumacher        For          For         Management
2       Advisory Vote to Ratify Named            For          For         Management
        Executive Officers' Compensation
3       Amend Securities Transfer Restrictions   For          For         Management
4       Ratify Section 382 Rights Agreement      For          For         Management
5       Ratify Ernst & Young LLP as Auditors     For          For         Management
6       Require a Majority Vote for the          Against      Against     Shareholder
        Election of Directors


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WASHINGTON FEDERAL, INC.

Ticker:       WAFD             Security ID: 938824109
Meeting Date: JAN 25, 2022     Meeting Type: Annual
Record Date: NOV 22, 2021

#       Proposal                                 Mgt Rec      Vote Cast   Sponsor
1.1     Elect Director R. Shawn Bice             For          For         Management
1.2     Elect Director Linda S. Brower           For          For         Management
1.3     Elect Director Sean B. Singleton         For          For         Management
1.4     Elect Director Sylvia R. Hampel          For          For         Management
2       Advisory Vote to Ratify Named            For          For         Management
        Executive Officers' Compensation
3       Ratify Deloitte & Touche LLP as          For          For         Management
        Auditors
